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                                                                      FILED: April 6, 2015


                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                         ___________________

                                              No. 13-2466
                                          (1:13-cv-02134-JFM)
                                         ___________________

        PATRICIA JOLLY, on behalf of herself and others similarly situated

                        Plaintiff - Appellant

        v.

        SUNSHINE FINANCIAL GROUP, LLC; LAW OFFICE OF J. SCOTT MORSE,
        LLC, d/b/a The Debt Recovery Law Center

                        Defendants - Appellees

                                         ___________________

                                        RULE 42(b) MANDATE
                                         ___________________

              This court's order dismissing this appeal pursuant to Local Rule 42(b) takes

        effect today.

              This constitutes the formal mandate of this court issued pursuant to Rule

        41(a) of the Federal Rules of Appellate Procedure.


                                                                /s/Patricia S. Connor, Clerk
